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                                                                                        Sealed
                                                                               Public and unofficial staff accees
                                                                                    to this inltrument are
                               UNITED STATES DISTRICT COURT                       prohibited by court order.
                                SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

    UNITED STATES OF AMERICA,                     §
                                                  §       Criminal No.
                                                                                19-750
             v.                                   §
                                                  §       UNDER SEAL
    JOSEPH NW ANKWO and                           §
    STACEY AJAJA,                                 §                                      SoUnited States Courts
                                                  §                                         Uthern District of Texas
                                                                                                   FILED
                                                  §
                               Defendants.        §                                          OCT- 9 20f9

                                             INDICTMENT
                                                                                      ·Alvfd.&. &adtey, Cleric ot Court

       The Grand Jury charges:

                                        General Allegations

       At all times material to this Indictment, unless otherwise specified:

        1.        Medicare. The Medicare Program (''Medicare") was a federal health care

program providing benefits to individuals who were over the age of 65 or disabled. Medicare

was administered by the United States Department of Health and Human Services, through its

agency, the Centers for Medicare and Medicaid Services ("CMS").            Individuals receiving

benefits under Medicare were referred to as Medicare "beneficiaries."

       2.         Medicare was a "health care benefit program" as defined by Title 18, United

States Code, Section 24(b ).

       3.         Health care providers that provided services to Medicare beneficiaries were

required to apply for and obtain a "provider number". Part of this application process required

that the health care providers certify that they understand and will abide by the federal laws and

regulations governing their participation in Medicare, including a specific understanding of the

Anti-Kickback Statute, 42 U.S.C. § 1320a-7(b).
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       4.      A health care provider that received a Medicare provider number was able to file

claims with Medicare to obtain reimbursement for services provided to beneficiaries.          A

Medicare claim was required to set forth, among other things, the beneficiary's name and

Medicare information number, the services that were performed for the beneficiary, the date the

services were provided, the cost of the services, and the name and identification number of the

physician or other health care provider that ordered the services.

       5.      Part A of the Medicare program covered eligible home health services provided

by a participating home health agency ("HHA") provided to Medicare beneficiaries who were

confined to their homes and had a medical need for skilled nursing care, physical therapy,

speech therapy, or an ongoing need for occupational therapy. Claims for qualifying home health

services were typically reimbursed in full to the HHA based on contract rates determined by

Medicare.

       6.      Upon enrollment, Medicare providers were issued a provider manual that

describes the requirements to participate as a provider in the Medicare program. Providers also

periodically receive newsletters advising them of the additional requirements for participation

and instructions on what services are or are not covered by Medicare.

       7.      Since October 2000, Medicare compensation to home health care agencies have

been based on the Prospective Payment System (PPS). Under this system, Medicare paid a

home health care agency a base payment, which is adjusted based on the severity of the

beneficiary's health condition and care needs. The PPS payment provided home health care

agencies with payments for each 60-day episode of care for each beneficiary. If the beneficiary

was still eligible for home health care after a home health episode, they may be recertified for

another 60-day home health episode. There was no limit to the number of home health episodes



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that a beneficiary may receive, so long as the beneficiary was still eligible for home health

services.

        8.     CMS did not directly pay Medicare Part A claims submitted by Medicare

certified HHAs. CMS contracted with different companies to administer the Medicare Part A

program throughout different parts of the United States. In the State of Texas, CMS contracted

with Medicare Administrative Contractors ("MACs"), including Trailblazer Health Enterprises

("Trailblazer") and Novitas Solutions ("Novitas"), to administer Part A HHA claims. As

administrator, MACs received, adjudicated, and paid claims submitted by HHA providers under

the Part A program for home health services.

       9.      According to 42 Code of Federal Regulations (CFR) section 409.42, for home

health services to be covered and therefore compensable by Medicare, all of the following

eligibility requirements must be met:

                      a.         The beneficiary must be confined to the home or an institution

              that is not a hospital (i.e., homebound).

                      b.         The beneficiary must be under the care of a physician who

               specifically determined there was a need for home health care and established

               the Plan of Care (described in Paragraph 13, below);

                      c.         The beneficiary must be in need of skilled services such as

               intermittent skilled nursing services, physical therapy, speech-language

               pathology services, or continuing occupational therapy services.

                            1.          More specifically, in section 409.44, where a service can

                      be safely and effectively performed (or self-administered) by non-

                      licensed staff without the direct supervision of a nurse, the service cannot



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                      be regarded as a skilled service even if a nurse actually provides the

                      service.

                      d.      The beneficiary must be under a plan of care that meets the

               requirements specified in section 409.43.

                      e.      The home health services must be provided by, or under

               arrangements made by, a participating home health care agency.

       10.     Homebound Status: In order for a patient to be eligible to receive covered home

health services under both Medicare Part A and Part B, the law required that a physician certify

that the patient was confined to the home. The condition of the patients should be such that

there existed a normal inability to leave home and, consequently, leaving home required a

considerable and taxing effort.    If a patient did in fact leave the home, the patient may

nevertheless be considered homebound if the absences from the home were infrequent, or for

periods of relatively short duration, or were attributable to the need to receive health care

treatment.

       11.     OASIS and Plan of Care: To determine the proper level of care for a beneficiary

and ultimately to help determine the amount of payment the provider will receive, Medicare

required that home health care agencies perform a patient-specific, comprehensive assessment

that accurately reflected the patient's current health and provided information to measure his

progress. In making this assessment, home health care agencies were required to use a tool

called the Outcome and Assessment Information Set (OASIS).

       12.     With limited exceptions, the OASIS assessment must have been completed by a

Registered Nurse (RN). The standard OASIS form was a detailed checklist that the nurse

examining the prospective patient completed.        The form was detailed and comprehensive,



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covermg: clinical record items identifying the agency, the patient, the referring physician, and

the period of care; demographics and patient history; living arrangements, including an

evaluation of safety and sanitary conditions of the home; supportive assistance from co-

habitants, relatives, and other care-givers; separate assessments of every area of the body,

external and internal; mental and psychological status; functional limitations; activities of daily

living such as bathing, grooming, shopping, reading and writing; permitted activities;

medications and allergies; medical appliances and equipment; and therapy, teaching, training,

and skilled care needs. The OASIS also contained spaces for a written analysis of findings; a

projection of the number and type of treatments needed; and a description of goals,

rehabilitation potential, and discharge plans for the beneficiary.

        13.       The OASIS information was then used to create a Plan of Care ("Form 485").

The Plan of Care specified the frequency of home visits and described the services to be

provided to the beneficiary. The beneficiary's physician must sign the Form 485, certifying

that the patient is confined to the home and needs intermittent skilled care.          Further, the

physician certified that the physician is caring for the beneficiary and that the services set forth

on the plan of care are authorized by the physician.

        14.       Provision of Home Health Services: Following the initial assessment, and

based upon either completion of the Form 485 or a verbal order from the doctor (later confirmed

by a signed Form 485), nurses, physical therapists, and/or other home health professionals

visited the patient based on the frequency ordered by the doctor and recorded the visit in

progress notes.

        15.       Documentation: Medicare Part A regulations required HHAs providing services

to Medicare patients to maintain complete and accurate medical records reflecting the medical



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assessment and diagnoses oftheir patients, as well as records documenting actual treatment of

the patients to whom services were provided and for whom claims for reimbursement were

submitted by the home health agency. When they filled out Medicare enrollment applications,

providers must identify all locations where patient records will be kept. Among the written

records required to be maintained are:

                        a.           the Plan of Care, which includes the physician order for home

               health        care,     diagnoses,    types    of     services/frequency   of    visits,

              prognosis/rehabilitation potential, functional limitations/activities permitted,

               medications/treatments/nutritional requirements, safety measures/discharge

              plans, goals, and physician signature;

                        b.           the OASIS start-of-care form;

                        c.           a signed certification statement by an attending physician

              certifying that the patient is under the physician's care, is confined to his or her

               home, and needs the planned home health services; and

                        d.           medical records of each visit made by a nurse, therapist, or home

               health aide to a beneficiary, describing, among other things, any significant

              observed signs or symptoms, any treatment and drugs administered, any

               reactions by the patient, any teaching and the understanding of the patient, and

              any changes in the patient's physical or emotional condition.

       16.    These medical records were required to be sufficient to permit Medicare, through

its contractors, to review the appropriateness of Medicare payments made to the HHA under the

Part A program.




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        17.    Medicaid. The Texas Medicaid program (Medicaid) was a state program, jointly

funded by the State of Texas and the federal government. Medicaid was administered by the

Texas Health and Human Services Commission.            Medicaid provided medical and related

services to families with dependent children and aged, blind, or disabled individuals whose

income and other financial and economic resources were insufficient to allow them to meet the

cost of necessary medical services. Individuals eligible under the Medicaid program were

referred to as Medicaid "clients". Medicaid was a "health care benefit program" as defined by

18 U.S.C. § 24(b).

       18.     Among the types of reimbursable medical assistance available to Medicaid

clients were office visits, diagnostic testing, prescription drugs, and durable medical equipment.

       19.     Medicaid also paid for some types of at-home personal care services. The Texas

Department of Aging and Disability Services ("DADS") supervised a program called

Community Attendant Services ("CAS"). CAS was a nontechnical, medically related personal

care services program provided to adults whose medical condition caused them to be

functionally limited in performing activities of daily living, according to a practitioner's

statement of medical need.



                          RELEVANT INDIVIDUALS AND ENTITIES

       20.     Hefty Healthcare Services, Inc. ("Hefty") was a Texas corporation doing

business at 9100 Southwest Freeway, Suite 225, Houston, TX 77074.              Hefty purportedly

provided home health services to Medicare beneficiaries and Medicaid clients from in or around

January 2011 through in or around January 2017.




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        21.     JOSEPH NW ANKWO, a resident of Harris County, Texas, is a Registered

Nurse licensed to practice in the State of Texas. NW ANKWO co-owned and operated Hefty

from in or around January 2009 through in or around January 2017.

        22.     STACEY AJAJA, a resident of Fort Bend County, Texas, is a Registered Nurse

licensed to practice in the State of Texas. AJAJA co-owned and operated Hefty from in or

around January 2009 through in or around January 2017.

        23.     Recruiter 1 was a patient recruiter for home health agencies, including Hefty.

        24.     Physician A at Clinic 1 certified Hefty patients for home health services.

        25.     Clinic 1 Owner owned and operated Clinic 1.



                                                     COUNT 1

                                 Conspiracy to Commit Health Care Fraud
                                      (Violation of 18 U.S.C. § 1349)

        26.     Paragraphs I through 25 are realleged and incorporated by reference as if fully

set forth herein.

        27.     From in or around January 2009 through in or around January 2017, the exact

dates being unknown to the Grand Jury, in the Houston Division of the Southern District of

Texas, and elsewhere, Defendants

                                         JOSEPH NW ANKWO and
                                            STACEY AJAJA


did knowingly and willfully combine, conspire, confederate, and agree with each other and with

others known and unknown to the Grand Jury, to violate Title 18, United States Code, Section

1347, that is, to knowingly and willfully execute and attempt to execute a scheme and artifice

to defraud a health care benefit program affecting commerce, as defined in Title 18, United

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States Code, Section 24(b ), that is, Medicare, and to obtain by means of materially false and

fraudulent pretenses, representations, and promises, money and property owned by and under

the custody and control of Medicare, a health care benefit program, in connection with the

delivery of and payment for health care benefits, items, and services.

                                     Purpose of the Conspiracy

       28.      It was a purpose of the conspiracy for Defendants JOSEPH NW ANKWO,

STACEY AJAJA, and others known and unknown to the Grand Jury, to unlawfully enrich

themselves by (a) submitting and causing the submission of false and fraudulent Part A claims

to Medicare for home health services, and (b) diverting and causing the diversion of the

proceeds of the fraud for the personal use and benefit of the Defendants and their co-

conspirators.

                               Manner and Means of the Conspiracy

                The manner and means by which the Defendants JOSEPH NWANKWO,

STACEY AJAJA, and their co-conspirators sought to accomplish the purposes and objects of

the conspiracy included, among other things, the following:

       29.      Defendants JOSEPH NWANKWO and STACEY AJAJA maintained a

Medicare provider number for Hefty that the Defendants and their co-conspirators used to

submit and cause to be submitted claims to Medicare for home health services that were not

medically necessary, not provided, or both.

       30.      Defendants JOSEPH NWANKWO and STACEY AJAJA paid and caused the

payment of kickbacks to Recruiter 1 in exchange for referring Medicare beneficiaries to Hefty

for home health services.




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        31.    Physician A at Clinic-1 certified a number of Hefty's patients for home health

services. In exchange for physicians authorizing medically unnecessary home health services

for Medicare beneficiaries for whom Hefty submitted claims to Medicare, JOSEPH

NWANKWO, STACEY AJAJA, and their coconspirators paid and caused the payment of

kickbacks to Clinic-1 and other certifying physicians' clinics.

       32.     JOSEPH NW ANKWO, STACEY AJAJA, and their coconspirators paid and

caused the payment of kickbacks, often in cash, to Medicare patients in exchange for the

patients' allowing Hefty to use their Medicare information to bill Medicare for home health

serv1ces.

       33.     JOSEPH NWANKWO, STACEY AJAJA, and their co-conspirators falsified

and caused to be falsified patient files to make it appear that services for which Hefty billed

Medicare were medically necessary, actually provided, and met Medicare's criteria for

reimbursement.

       34.     From m or around July 2013 to in or around November 2016, JOSEPH

NWANKWO, STACEY AJAJA, and their co-conspirators, known and unknown to the Grand

Jury, submitted or caused the submission of claims to Medicare for approximately $1.6 million

for home health services that were not medically necessary, not provided, or both. Medicare

paid approximately $2.1 million on those claims.

       35.     In 2014, JOSEPH NWANKWO enrolled Hefty with DADS to be a CAS

Medicaid provider.

       36.     From m or around June 2014 to in or around January 2017, JOSEPH

NWANKWO and STACEY AJAJA, and their co-conspirators, known and unknown to the

Grand Jury, submitted or caused the submission of claims to Medicaid for approximately



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$160,631.63 for personal care services. Medicaid paid approximately $144,686.61 on those

claims.

          All in violation ofTitle 18, United States Code, Section 1349.



                                               COUNTS 2-6

                                           Health Care Fraud
                                  (Violation of 18 U.S. C. §§ 1347 and 2)

          37.    Paragraphs 1 through 36 are re-alleged and incorporated by reference as if fully

set forth herein.

          38.    On or about the dates specified below, in the Houston Division of the Southern

District of Texas and elsewhere, Defendants,

                                      JOSEPH NWANKWO and
                                         STACEY AJAJA

aided and abetted by, and aiding and abetting, others known and unknown to the Grand Jury,

did knowingly and willfully execute and attempt to execute, a scheme and artifice to defraud a

health care benefit program affecting commerce, as defined in Title 18, United States Code,

Section 24(b ), that is, Medicare, and to obtain by means of materially false and fraudulent

pretenses, representations, and promises, money and property owned by and under the custody

and control of Medicare, a health care benefit program, in connection with the delivery of and

payment for health care benefits, items, and services, as set forth below:


                                                                                    Approx.
                  Medicare                                  Description of
                                  Approx. Dates of                                  Medicare
   Count         Beneficiary                                Services Billed
                                      Service                                      Payment to
                                                                                      Hefty
      2              K.B.         11/3/14 thru 111115        Home Health            $1,418.34
      3              H.T.         11/5114 thru 1/3/15        Home Health            $2,943.68


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                                       12/20/15 thru
      4               J.B.                                    Home Health            $3,424.44
                                         2117116

                      C.J.            12118115 thru           Home Health            $2,511.36
      5
                                         2/13/16
      6              E.C.           3/4/16 thru 4/7/16        Home Health            $1,437.34



          All in violation ofTitle 18, United States Code, Sections 1347 and 2.

                                                  COUNT7
                                Conspiracy to Defraud the United States and to
                                  Pay and Receive Health Care Kickbacks
                                                (18 u.s.c. § 371)

          39.    Paragraphs 1 through 36 of this Indictment are realleged and incorporated by

reference as if fully set forth herein.

          40.    From in and around July 2013 through in and around January 2017, the exact

dates being unknown, in the Houston Division of the Southern District of Texas, and elsewhere,

the Defendants,

                                          JOSEPH NW ANKWO and
                                             STACEY AJAJA

did knowingly and willfully combine, conspire, confederate, and agree with others known and

unknown to the Grand Jury, to commit certain offenses against the United States, that is,

                         a.      to defraud the United States by impairing, impeding, obstructing

                 and defeating through deceitful and dishonest means, the lawful government

                 functions of the United States Department of Health and Human Services in its

                 administration and oversight of Medicare, and to commit certain offenses against

                 the United States, that is:

                         b.      to violate Title 42, United States Code, Section 1320a-7b(b)(1 ),

                 by knowingly and willfully soliciting and receiving remuneration, specifically

                 kickbacks and bribes, directly and indirectly, overtly and covertly, in cash and

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              in kind in return for referring an individual to a person for the furnishing and

              arranging for the furnishing of any item and service for which payment may be

              made in whole or in part under a Federal health care program, that is, Medicare;

              and in return for the purchasing, leasing, ordering, and arranging for and

              recommending the purchasing, leasing, and ordering of any good, facility,

              service, and item for which payment may be made in whole and in part under a

              Federal health care program, that is, Medicare; and

                     c.      to violate Title 42, United States Code, Section 1320a-7b(b)(2),

              by knowingly and willfully offering and paying remuneration, specifically

              kickbacks and bribes, directly and indirectly, overtly and covertly, in cash and

              in kind to any person to induce such person to refer an individual to a person for

              the furnishing and arranging for the furnishing of any item and service for which

              payment may be made in whole or in part under a Federal health care program,

              that is, Medicare; and for the purchasing, leasing, ordering, and arranging for

              and recommending the purchasing, leasing, and ordering of any good, facility,

              service, and item for which payment may be made in whole and in part under a

              Federal health care program, that is, Medicare.

                                     Purpose of the Conspiracy

       41.    It was a purpose of the conspiracy for the Defendants JOSEPH NW ANKWO,

STACEY AJAJA, and their co-conspirators to unlawfully enrich themselves by paying

kickbacks and bribes in exchange for the referral of Medicare beneficiaries for whom Hefty

submitted claims to Medicare.

                                Manner and Means of the Conspiracy



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        The manner and means by which the Defendants JOSEPH NW ANKWO, STACEY

AJAJA, and their co-conspirators sought to accomplish the purpose and objects of the

conspiracy included, among other things, the following:

        42.     Paragraphs 29 through 36 of this Indictment are realleged and incorporated by

reference as if fully set forth herein.

                                               Overt Acts

        43.     In furtherance ofthe conspiracy, and to accomplish its objects and purpose, the

conspirators committed and caused to be committed, in the Houston Division of the Southern

District of Texas, the following overt acts:

                        a.      On or about November 10, 2014, Defendant STACEY AJAJA

                paid or caused the payment of approximately $5,250 to Recruiter 1 in exchange

                for sending Medicare beneficiaries to Hefty for home health services.

                        b.      On or about December        15, 2014, Defendant JOSEPH

                NW ANKWO paid or caused the payment of approximately $1,175 to Recruiter

                1 in exchange for sending Medicare beneficiaries to Hefty for home health

                services.

                        c.      On or about March 17, 2015, Defendant JOSEPH NWANKWO

                paid or caused the payment of approximately $1 ,050 to Clinic-1 in exchange for

                Physician A authorizing Hefty's Medicare beneficiaries for home health

                services.

                        d.      On or about May 27, 2015, Defendant STACEY AJAJA paid or

                caused the payment of approximately $1,800 to Clinic-1 Owner in exchange for




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         Physician A authorizing Hefty's Medicare beneficiaries for home health

         services.

  All in violation ofTitle 18, United States Code, Section 371.




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                            NOTICE OF CRIMINAL FORFEITURE
                                   (18 U.S.C. § 982(a)(7))

        44.     Pursuant to Title 18, United States Code, Section 982(a)(7), the United States of

America gives notice to Defendants JOSEPH NWANKWO and STACEY AJAJA that upon

conviction of any Counts in this Indictment, all property, real or personal, that constitutes or is

derived, directly or indirectly, from gross proceeds traceable to the commission of such offenses

is subject to forfeiture.

                               Money Judgment and Substitute Assets

        45.     Defendants JOSEPH NWANKWO and STACEY AJAJA are notified that

upon conviction, the United States will seek the imposition of a money judgment against each

Defendant. In the event that a condition listed in Title 21, United States Code, Section 853(p)

exists, the United States will seek to forfeit any other property of each Defendant in substitution

up to the amount of the money judgment against that Defendant.



                                                      A TRT IF RTT T

                                                            ORIGINAL SIGNATURE ON FILE




RYAN PATRICK
UNITED STATES ATTORNEY




KATHRYN OLSON
Special Assistant United States Attorney
U.S. Attorney's Office for
the Southern District of Texas



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